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wEsTERN DISTRICT oF TENNESSEE _
wEsTERN DIVISION OSHR 21 fm 3 J»

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JIMMY EVANS, as next of kin to
JERRELL EVA.NS, a minor,

Plaintiff,

v. Cv. No. 04-2571-Ma

DR. BOBBY WEBB, in his official capacity
as Superintendent of Shelby County Schools,
and DAVID PICKLER, on behalf of and in his
official capacity as Chairman of the
Shelby County School Board,

Defendants.

J`UDGMENT

Decision by Court. This action came for consideration before
the Court. The issues have been duly considered and a decision has
been rendered.

IT IS ORDERED AND ADJUDGED that this action is dismissed in

accordance With the Consent Order of Dismissal With Prejudice,
docketed March 25, 2005. Costs are taxed to the Plaintiff.

APPROVEDW %Mm

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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This notice confirms a copy of the document docketed as number 21 in
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ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

